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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


 QUANTUM TECHNOLOGY                                 :
 INNOVATIONS, LLC,                                  :
                                                    :
           Plaintiff,                               :    Case No.                      __________
                                                    :
 v.                                                 :
                                                    :          JURY TRIAL DEMANDED
 PLEX, INC.,                                        :
                                                    :
           Defendant.                               :

                          COMPLAINT FOR PATENT INFRINGEMENT

            Plaintiff, Quantum Technology Innovations, LLC (hereinafter, “QTI” or “Plaintiff”), by

and through its undersigned counsel, hereby respectfully files this Complaint for Patent

Infringement against Defendant, Plex, Inc. (hereinafter, “Plex” or “Defendant”), as follows:

                                                PARTIES

      1.     Plaintiff Quantum Technology Innovations, LLC is a private limited liability company

incorporated under the laws of the State of Wyoming.

      2.     Upon information and belief, Defendant Plex, Inc. is a corporation organized and existing

under the laws of the State of Delaware, with a principal place of business at 449 North Santa Cruz

Avenue, Los Gatos, California 95030, and can be served via its registered agent, Corporation

Service Company, 251 Little Falls Drive, Wilmington, Delaware 19808, or wherever Defendant,

or its registered agent and its authorized employees, officers, directors, and/or managers, may be

found.

                                        NATURE OF THE ACTION

      3.     This is a civil action for patent infringement to stop Defendant’s infringement of United

States Patent No. 7,650,376 (the “‘376 Patent” or the “Patent-in-Suit”; attached hereto as Exhibit

1).
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    4.   QTI alleges that Plex has directly infringed and/or continues to infringe the Patent-in-Suit

by, inter alia, making, using, offering for sale, selling, importing, using (including in connection

with internal uses and/or demonstrations), including in connection with providing the infringing

products and instructions/specifications for their use, including as detailed herein.

    5.   Plex has had actual and/or constructive notice of the infringements alleged herein,

including as detailed herein.

    6.   QTI seeks damages and other relief for Plex’s infringement of the Patent-in-Suit,

including as detailed herein.

                                    JURISDICTION AND VENUE

    7.   This action arises under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.,

including 35 U.S.C. §§ 271, 281, 283, 284, and 285. This Court has subject matter jurisdiction

over this case for patent infringement, including under 28 U.S.C. §§ 1331 and 1338(a).

    8.   This Court has personal jurisdiction over Defendant, including because Defendant is a

Delaware corporation with a foreign registration in the State of Delaware; Defendant has places of

business in the State of Delaware, including the address noted hereinabove; Defendant has

minimum contacts within the State of Delaware; Defendant has purposefully availed itself of the

privileges of conducting business in the State of Delaware; Defendant regularly conducts business

within the State of Delaware; and Plaintiff’s cause of action arises directly from Defendant’s

business contacts and other activities in the State of Delaware, including at least by virtue of

Defendant’s infringing methods, systems, apparatuses, products, and/or services, which have been,

and are currently, at least practiced, made, and/or used in the State of Delaware. More specifically,

Defendant directly and/or through intermediaries, at least makes, distributes, imports, offers for

sale, sells, advertises, and/or uses, the accused products and/or services identified herein,

comprising the claimed systems and/or that practice the claimed methods of the Patent-in-Suit in
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the State of Delaware. Defendant is subject to this Court’s specific and general personal

jurisdiction, including pursuant to Constitutional Due Process and the Delaware Long Arm Statute.

Defendant is subject to this Court’s general personal jurisdiction due at least to Defendant’s

continuous and systematic business contacts in Delaware, including related to operations

conducted in Delaware and the infringements alleged herein. Further, on information and belief,

Defendant is subject to this Court’s specific personal jurisdiction, including because Defendant

has committed patent infringement in the State of Delaware, including as detailed herein. Further,

on information and belief, Defendant regularly conducts and/or solicits business, engages in other

persistent courses of conduct, and/or derives substantial revenue from goods and/or services

provided to persons and/or entities in Delaware, including because Defendant solicits customers

in the State of Delaware, Defendant has paying customers who are residents of the State of

Delaware and who purchase and/or use Defendant’s infringing products and/or services in the

State of Delaware and throughout the U.S., and Defendant has an interactive website and/or

applications that are accessible from the State of Delaware and throughout the U.S.

    9.   Venue is proper in this District, including pursuant to 28 U.S.C. §§ 1391 and 1400(b),

including because Defendant resides in the State of Delaware at least by virtue of the fact that it is

incorporated in the State of Delaware and at least some of the direct infringement of the Patent-in-

Suit occurs in this District.

                                       THE PATENT-IN-SUIT

    10. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    11. QTI is the owner of all right, title, and interest in the Patent-in-Suit, including the right to

sue for past, present, and future infringement thereof and to collect damages for any such past,

present, or future infringement. The inventions disclosed and claimed in the ‘376 Patent
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comprising, inter alia, distribution of media content via a decentralized computer network, provide

numerous benefits over any prior methods, systems, apparatuses, and/or computer-readable media.

A. Overview Of The ‘376 Patent

    12. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    13. The ‘376 Patent is entitled “Content Distribution System for Distributing Content Over a

Network, with Particular Applicability to Distributing High-Bandwidth Content.” U.S. Patent

Application No. 09/774,700, filed on November 20, 2000, and which issued on January 19, 2010

as U.S. Patent No. 7,650,376, claims priority to U.S. Provisional Patent Application No.

60/192,165 filed on March 27, 2000.

   1. Overview of the Prosecution of the ‘376 Patent

    14. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    15. During prosecution of the ‘376 Patent, on December 2, 2005, the patent examiner issued

a Non-Final Rejection, rejecting then-pending claims 1-20, 22-25, 27-33, and 35-123 under 35

U.S.C. § 102(e) as being anticipated by U.S. Patent No. 5,956,716 to Kenner et al. (“Kenner”) and

rejecting then-pending claims 21, 26, and 34 under 35 U.S.C. § 103(a) as being obvious in view

of Kenner.

    16. On March 2, 2006, the applicant amended the claims and argued that the cited Kenner

reference did not render the claims, as amended, unpatentable.

    17. With regard to the rejections under 35 U.S.C. §§ 102(e) and 103(a), the applicant noted

in its response to the patent examiner’s rejection that conventional Kenner did not teach, suggest,

nor render obvious “‘…communicating to a client the identity of a node server having…specified

content stored thereon, thereby enabling the client to request transmission of the specified content

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from the node server,’ as recited in Claim 1.” The applicant further noted that conventional Kenner

did not teach, suggest, nor render obvious that “an owner of the node server [is] offered an

incentive as compensation for transmission of the specified content to the client, as recited in Claim

1.”

      18. On June 1, 2006, the examiner issued a Final Rejection maintaining the rejection of then-

pending claims 1-20, 22-25, 27-33, and 35-123 under 35 U.S.C. § 102(e) as being anticipated by

Kenner and then-pending claims 21, 26, and 34 under 35 U.S.C. § 103(a) as being obvious in view

of Kenner.

      19. On December 1, 2006, the applicant filed a request for continued examination (“RCE”).

As part of the RCE filing, the applicant, without amending the claims, reiterated the previous

arguments that the cited Kenner reference did not render the claims, as previously amended,

unpatentable. At the same time, the applicant added additional claims 124-127.

      20. In regard to the rejections under 35 U.S.C. §§ 102(e) and 103(a), the applicant noted in

its response to the patent examiner’s rejection that conventional Kenner neither teaches, suggests,

nor renders obvious “‘ascertaining that [a] node server transmitted…specific content to [a] client,’

as recited in Claim 1.” Further, the applicant specifically noted that the examiner failed to address

the specific highlighted differences the applicant noted between the claimed invention and Kenner.

      21. On February 23, 2007, the examiner issued a Non-Final Rejection maintaining the

rejection of then-pending claims 1-20, 22-25, 27-33, and 35-127 under 35 U.S.C. § 102(e) as being

anticipated by Kenner and then-pending claims 21, 26, and 34 under 35 U.S.C. § 103(a) as being

obvious in view of Kenner.

      22. On August 23, 2007, the applicant filed a response and, without amending the claims,

reiterated the previous arguments that the cited Kenner reference did not render the claims, as

previously amended, unpatentable. The applicant, again, specifically noted that the examiner failed
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to address the specific highlighted differences the applicant noted between the claimed invention

and Kenner.

    23. On April 25, 2008, the examiner issued a Non-Final Rejection, now rejecting all of then-

pending claims 1-127 under 35 U.S.C. § 103(a) as being obvious in view of Kenner and U.S. Patent

No. 5,956,716 (“Guenthner”).

    24. On August 25, 2008, the applicant filed a response and, without amending the claims,

argued that the cited combination of Kenner and Guenthner did not render the claims unpatentable,

nor would it be obvious to combine these references.

    25. With regard to the rejection under 35 U.S.C. § 103(a), in addition to reiterating the

applicant’s prior arguments relating to conventional Kenner, the applicant noted that neither

conventional Kenner, nor conventional Guenthner, alone, or in combination teach, suggest, nor

render obvious “‘communicating to [a] client the identity of a node server having…specified

content stored thereon,’ as recited in Claim 1. The applicant further noted that “any teaching,

whether by Guenthner et al. or anyone else, regarding [this limitation], would be of no use and

incompatible with the invention taught by Kenner et al., and thus it would not be obvious to

combine such teaching with the teaching of Kenner at al. to produce an invention as recited in

Claim 1.”

    26. On February 4, 2009, the examiner issued a Final Rejection, rejecting then-pending

claims 35-38, 40-55, 57-76, 95-111, 113-120, 122-123, and 125-127 under 35 U.S.C. § 103(a) as

being obvious in view of Kenner and Guenthner, and rejected claims 39, 56, and 112 as being

dependent upon rejected base claims. The examiner allowed then-pending claims 1-34, 77-94, 121,

and 124.

    27. On March 2, 2009, the applicant filed a response, canceling then-pending claims 35-38,

40-55, 57-76, 95-98, 100-111, 113-120, 122-123, and 125-127, amending claims 39, 56, 99, and
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112, and adding additional claims 128-192, and argued that the then-pending claims, as amended

and added, were not unpatentable in view of Kenner and Guenthner.

    28. On March 17, 2009, the examiner issued a Non-Final rejection, rejecting then-pending

claims 128-160 under 35 U.S.C. § 112, ¶ 1, as containing subject matter not properly described in

the specification and rejecting then-pending claims 1-34, 39, 56, 124, and 128-160 under 35 U.S.C.

§ 112, ¶ 2, as being indefinite. In this Non-Final rejection, the examiner also rejected then-pending

claims 1-34, 39, 56, 121, 124, and 128-192 under 35 U.S.C. § 101 as being directed to non-

statutory subject matter.

    29. On June 17, 2009, the applicant amended the claims and argued that the claims, as

amended, overcome the rejections under 35 U.S.C. §§ 101 and 112, ¶¶ 1 & 2.

    30. In regard to the rejections under 35 U.S.C. § 101, the applicant noted in its response to

the patent examiner’s rejection that the rejected claims were amended “to make clearer that [those

claims] recite apparatus (that includes a core server and can further include a node server and/or

client) and therefor recite statutory subject matter.

    31. In regard to the rejections under 35 U.S.C. § 112, ¶ 1, the applicant noted in its response

to the patent examiner’s rejection that “the description throughout [the] specification of the

functions performed by the receiver and transmitter recited in [the] claims…inherently disclose

[those features] and, consequently, the receiver and transmitter recited in [those claims] meet the

requirements of the first paragraph of 35 U.S.C. § 112. In regard to the rejections under 35 U.S.C.

§ 112, ¶ 2, the applicant noted in its response to the patent examiner’s rejection that the claims

were amended “to make clearer that [the claims] recite apparatus: those claims now include

recitations that the apparatus include a core server and can further include a node server and/or

client.”

    32. On August 24, 2009, the patent examiner issued a notice of allowance.
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   2. Overview of the Unconventional ‘376 Patented Inventions and the Conventional
      Technology at the Time

    33. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    34. At the time of the ‘376 inventions reflected in the issued claims (the “patented

inventions”), the main method of video content distribution was through the television.

Distribution of video content online was very limited and suffered from many issues, including

limitations due to bandwidth and feature set. ‘376/1:57-66. In either of the television or online

distribution systems, the content was provided via a broadcast model wherein the content provider

would transmit the content to any user or client that was connected to the content provider. In the

conventional television broadcast model, any content was only required to be sent a single time,

and all clients (e.g., receivers) would receive the content at the same time. However, where the

clients interacted in a staggered fashion (i.e., connected at differing times to request the same

content), the asynchronous nature of such content delivery reduces the content provider’s ability

to consistently operate within its resource limits. The best method of providing an asynchronous

or on-demand viewing experience at the time was through video tapes (e.g., VHS), CDs, and/or

DVDs.

    35. Notably, distribution of content online differed from television distribution in this way,

including that the number of users or clients connecting to the content provider could vary much

more quickly, including that the times the users or clients may connect were not limited to the

specific times that content was set to be provisioned as in the television systems. An example of

conventional architecture, where a user or client connected to the content provider, is exemplified

in the figures of U.S. Patent No. 6,505,240 to Blumenau (“Blumenau”) cited in the specification

of the ‘376 Patent:


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Blumenau at Fig. 2; see also Blumenau at Figs. 1 & 3; 4:31-6:57.

    36. Provision of content over a network, including provision of video content to multiple

clients, if done at all, was typically a slow, arduous, and unpredictable process which could be

cumbersome and time consuming, if at all possible, including because each client that connected

to the content provider resulted in additional bandwidth usage as the full content of the web site,

including any high-bandwidth content (e.g., video content, 3D images, etc.), was transferred at the

time the client first connected. ‘376/3:65-4:2 & 4:13-20. Neither the content provider nor the client

could choose the time the content was transferred other than by choosing when the client connected

to the content provider. Further, neither the content provider, nor the client, could choose specific

content to be transferred, but, rather, all of the content on the web site was transferred upon the

client connecting to the content provider. Including because of the foregoing, it was particularly

difficult for content providers to manage the provision of content to large numbers of clients or the

provision of multiple pieces of video content. Moreover, it was especially difficult, if not
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impossible, for content providers to manage the provision of multiple pieces of video content to

large numbers of clients. In some situations, such as accessing websites between countries, these

limitations simply made provisioning high-bandwidth content impossible.

    37. In such cases, the content provider would be limited by the resources available to it,

including, inter alia, the bandwidth of the network between the content provider and client and the

hardware and software of the content provider’s server that is managing the provisioning of

content. ‘376/1:57-66; 3:65-4:2; & 4:13-20. Further, as the data size of the content increased, these

limitations would become limiting, resulting in exponential degradations in, inter alia, transfer

speeds and increasing the likelihood of the content provider’s hardware and/or software crashing

or otherwise ceasing to transfer data to any number of clients. ‘376/1:57-66; 3:65-4:2; & 4:13-20.

Thus, content providers were required to limit the number of videos, and/or the data size of each

video, in order to operate within these limitations and attempt to ensure reliability of the transfers

to clients and scalability of systems. ‘376/1:57-66.

    38. Generally, conventional video content distribution systems were developed as similar

broadcast models based on the television distribution systems, including seeking to distribute

advertisements as interstitial breaks in online video content. However, while systems existed

which permitted the provision of content over a network, those systems were limited by the

bandwidth available to the networks used. ‘376/1:28-29. Specifically, where the content being

transmitted was high-bandwidth content (i.e., content requiring large data transmission rates

relative to the network bandwidth capabilities), these systems struggled to provide consistent user-

experiences, if at all. ‘376/1:28-2:4. One such type of high-bandwidth content was, and continues

to be, video content. ‘376/1:30-39. Video content is typically data intensive, and higher quality

videos comprise more data and, thus, require more bandwidth. ‘376/1:57-59.

    39. At the time of the ‘376 patented inventions, provision of video content was very limited,
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and existing systems were unable to deliver full video streams to large audiences. ‘376/1:59-63.

Rather, in conventional systems, any video content delivered was limited to very low resolutions,

very short length clips, and very low frame rates in order to reduce the data requirements of the

video so that the bandwidth limitations could be met. ‘376/1:63-2:2. Further, even where

conventional systems were able to provide these reduced data size videos, the delivery of these

videos was not customizable to, or selectable by, the user. ‘376/2:2-4. Instead, the videos were

made a static part of the web site to be transmitted to every user or client that accessed the web

site, and neither the time of delivery nor content delivered could be altered. ‘376/2:2-4.

    40. At the time of the ‘376 patented inventions, the most common, conventional, and practical

way to provision content to multiple clients was simply to reduce the amount of content to

provision by limiting what is shown on a single page, including by creating hierarchies of links to

section off content into multiple areas, requiring users to cumbersomely navigate the content

provider’s web site, often resulting in having to wait for web pages to reload again and again as

they browsed through the link hierarchy. Further, at the time of the ‘376 patented inventions, the

most common, conventional, and practical way for clients to choose when any content was

transferred was to either specifically time when they connected to the content provider or to

determine a way to copy the content to the client device for viewing later – the latter often

involving its own issues such as copyright infringement or broken content due to the way the web

site was programmed and was often limited by the resources of the client devices, which typically

included much less storage space than the servers of content providers. At best, conventional

systems would only distribute portions of the video while the connection was reliable, which were

almost always unviewable without the remaining portion of the video. The claimed inventions of

the ‘376 Patent improve the functionality, efficiency, and reliability of network content distribution

systems as described herein, including by eliminating the need for the content provider to heavily
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invest in infrastructure, hardware, software, and/or other resources, including by providing for the

use of a distributed system of third-party-owned node servers, including as described in the ‘376

Patent.

    41. The “SUMMARY” section of the ‘376 Patent states, in part, as follows:

                   In accordance with the invention, the distribution of content (in particular,
          data intensive content such as video content) by a content provider over a network
          (e.g., a computer network such as the Internet, a television network) is facilitated
          by making use of network site(s) throughout the network to dispense some part or
          all of the content on behalf of the content provider to network site(s) that desire to
          receive the content. In particular, the invention can be used to facilitate the
          distribution of content over a network by recruiting network site(s) to act as
          volunteer server(s) for dispensing content on behalf of the content provider. The
          invention can be used, for example, to facilitate the distribution of a single set of
          high-bandwidth content, e.g., facilitate distribution of video content over the
          Internet. The invention can also be used, for example, to facilitate the distribution
          of multiple sets of content at the same time, e.g., facilitate distribution of
          customized content to different content users.

‘376/2:8-24.

    42. The ‘376 claimed inventions have advantages over conventional systems and methods,

including that they allow multiple pieces of content to be distributed to numerous client devices

asynchronously and/or on-demand, including via the use of a distributed system of devices

containing the specified content. ‘376/3:23-4:33. In some embodiments, this includes the use of

distributed node servers owned by third parties separate from the owner of the core server (i.e., the

content provider) such that the node servers are more closely located to client devices. ‘376/3:23-

4:33. To the contrary, conventional systems were operated under the assumption that a pure server-

client system was feasible. However, as noted herein, these systems failed to scale with larger

numbers of clients, especially when delivering high-bandwidth content. An updated infrastructure

and architecture was needed, and the ‘376 patented invention provides such systems and methods

which solve these problems.

    43. Including as of the priority date of the Patent-in-Suit, there have been various, albeit
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vastly inferior, means outside of the claimed invention for achieving the ends of provisioning of

high-bandwidth content over a network, including on the Internet. Including as noted herein, at the

time of the ‘376 patented inventions, conventional approaches to delivering content in a scalable

and reliable way to multiple clients were limited. Conventional approaches sought to solve the

ongoing problem of limited resources, including bandwidth and hardware and/or software, which

limited a content provider’s ability to provide high-bandwidth content, including video content at

longer lengths, higher frame rates, and/or higher resolutions, and provide content asynchronously

and/or on-demand to large numbers of client devices. ‘376/1:28-2:4. These approaches included

local clustering of servers in a single location; deploying clusters in a few locations and synching

or mirroring the clusters; and/or using multiple internet service providers (“ISPs”) to connect to

the Internet (referred to as “multihoming”). ‘376/1:40-56. While each of these approaches address

some parts of the noted limitations, they also introduce additional limitations, including additional

requirements in order to provide necessary excess capacity.

    44. The use of clustering required the content provider to pre-determine the amount of traffic

it would expect and provide a sufficient number of servers to handle that load (which can be an

order of magnitude above average loads). Further, the average bandwidth required to handle a

traffic load is typically not an amount close to the maximum bandwidth that would be required at

any given time. This, in turn, required heavy investment by the content provider as the amount or

scale of the servers increases, meaning the content provider was required to pay for additional

hardware and/or software as well as the maintenance costs therefor. Notably, at the time, the

convention was not to have idle bandwidth available because the enormous expense of bandwidth

meant such idle bandwidth was money wasted.

    45. Where clusters were used with mirroring, not only are these same issues present, but

additional issues of maintaining a reliable mirror so that each cluster is identical become
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exponentially apparent. In other words, to provide a consistent web experience to users, the content

provider was required to constantly monitor the remote clusters to ensure any changes made at the

main server were properly and reliably propagated. Additionally, even with the use of remote,

mirrored clusters, each of these clusters would still be required to be able to handle the full

expected traffic load.

    46. For the multihoming approach, while this would potentially increase bandwidth available

by providing more physical links between the content provider and client devices, there was no

guarantee which of the links was used nor that, if any of the links, or connections thereon, became

overwhelmed, clients would be redirected to a different, less congested link, if at all. Regardless

of the amount of links, any given connection between the content provider and a client device

would still be subject to limitations of that specific connection. As a result, although the content

provider may have multiple links, each link, and each connection thereon, would still need to be

able to carry the entire expected traffic load.

    47. Thus, in each of these approaches, the content provider would be subjected to a

considerable cost, which was often over double the average initial infrastructure expense and

ongoing operation costs. These approaches also required the content provider to make wild

predictions about its initial and future traffic in order to properly scale. As a result, only the larger

content providers were able to even attempt to implement these approaches, meaning the vast

majority of content providers simply did not do so.

    48. A distributed, scalable third-party-owned node server-based systems, including the

inventions described in the ‘376 Patent, avoids and/or addresses these issues by providing a means

for the content provider to distribute and scale its system. The content provider’s system is

distributed by using already-existing servers owned by third parties which could be incentivized

to permit the content provider to employ these third parties’ resources (e.g., network bandwidth
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and server hardware and/or software) for less cost, while offloading the investment and

maintenance costs to those third parties. ‘376/7:12-34; 10:17-53; 11:1-19; 14:61-15:9; & 22:13-

20. The content provider’s system is scalable via the ability to easily add additional incentivized

node servers to the network to aid in distributing the content, including that each client that has

obtained specified content may then be used as an additional node server for provision of that same

content to additional clients. ‘376/19:66-20:63.

    49. Prior art methods for provisioning content over the Internet were likewise inferior.

Including as noted herein, back at the time of claimed inventions, distribution of content over

networks, including the Internet, were almost entirely via a pure server-client architecture with the

central or “core” server handling all communications with any client devices, including as

exemplified by the Kenner patent and ancillary prior art addressed extensively during prosecution

of the ‘376 Patent. As noted by the inventor during prosecution, the client devices of Kenner (i.e.,

user terminal) communicated only with the server (i.e., PIM) and the server never communicated

an identity of any other entity (i.e., DSI) so that the client could request the transmission of the

specified content from that other entity rather than the server. The claimed inventions improve and

build on this, including because, as noted by the inventor during prosecution, the claimed invention

comprises an architecture that provides advantages over these prior art systems, including by

permitting client devices to be served by node servers with better and/or more available resources

and/or that are more closely located to the client. According to the inventor, this architecture results

in, inter alia, a vastly improved functionality, efficiency, and reliability of content distribution.

    50. Further limitations on network and Internet availability existed at the time, where

broadband was in its infancy, and certainly not widespread, with the vast majority of Internet

connectivity being achieved through slow, unreliable dial-up networking over phone lines,

meaning most Internet users were unable to simply leave a device connected without losing the
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availability of a phone line. Thus, the expectations of one’s network services being available to a

computer at the time were often insufficient to reliably support continuous connectivity and high

bandwidth network activity. Similarly, for mobile devices, mobile data and internet connectivity

were not as ubiquitous as they are today, and certainly much less able to provide continuous

connectivity to permit a user to wait bandwidth to be available. At that time, a user would be

motivated to minimize mobile data usage because of high cost and limited bandwidth. Thus,

Internet users, both at home and mobile users, sought website that were quick and easy to load and

which provided the user with the best desired content without using a lot of bandwidth. As a result,

including as noted, it was conventional to provide low data content that was statically delivered

from a central core server, including by reducing the quality of content to reduce data size and

creating hierarchical links so that specific content could be delivered independent of other content,

rather than across a distributed third-party-owned node server architecture. ‘376/1:57-2:2.

    51. As a result, as noted herein, for those conventional systems, which only provided reduced

quality content, these resource limitations were less problematic due to the reduced resources

necessary to store and deliver the content to client devices. Even for those limited number of

conventional systems which employed conventional approaches to addressing these resource

limitations, these conventional systems did not fully alleviate the limitations and, in fact,

introduced additional limitations which otherwise reduced scalability and reliability of the delivery

of content to client devices. Thus, due to these limitations, the convention for the provision of

content over networks was, at best, to either cause the data to be so small that it was of poor quality

or brute-force the content by throwing costly bandwidth, hardware, and software at the problem.

The ‘376 patented inventions are unconventional in this regard because they went against the

conventional method of creating a self-owned ecosystem of bandwidth, hardware, and software to

attempt to permit the delivery of high-bandwidth content to multiple clients asynchronously and/or
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on-demand, and, instead, provides a method of employing already-existing node servers owned by

third-parties which provide specified content to only a subgroup of client devices, thus allowing

the core server to act as a traffic director, redirecting client devices to a more local node server

with its own bandwidth, hardware, and software used to deliver the content to a client device at

the specific time the client device requests the content. ‘376/4:8-24; 5:39-44; 12:48-54; 13:63-67;

19:23-33; 19:48-65; 21:4-43; & 23:1-24:40.

    52. Conventional systems had limited ability, if any, to deliver specified content to client

devices asynchronously and/or on-demand. ‘376/2:2-4; 3:61-4:33. Including as noted herein, the

provision of statically available content meant that client devices were simply provisioned all of

the content that was on a website upon connecting to the website. This, in turn, meant that, for

users to ensure they were able to view the specific content they wanted to view, they would have

to wait for the entire website to load to see if that specific content loaded as well. Due to limitations

at the time, most content was unviewable until the entirety of the content was received, or, if the

portion was viewable, the user was left with only a portion of the content. As a result, the content

provider’s server would be forced to use the same amount of bandwidth for each client device and

for the full amount of time the client device was connected, until the full website was delivered to

the client device. Specifically, conventional systems had limited ability, if any, to easily and

seamlessly permit client devices to pick and choose what content they were delivered. At best,

conventional systems limited the content delivered by requiring users cumbersomely click through

a series of links until they reached a webpage that only transferred the specific content they sought.

As a result, while this, at least partially, addressed the on-demand nature of content delivery, this

necessarily increased the time the client device was required to remain connected and increased

the bandwidth and other resource usage of the content provider because the client device was

required to access many more webpages, each of which would be required to be delivered to the
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client device so that the user could navigate to the proper link.

    53. With the unreliable Internet of many client devices, conventional systems were

cumbersome, burdensome, and hard to use, including because, while a user was waiting for the

specified content to be delivered with the entire website, the connection may fail, requiring the

user to have to refresh the page and start over. This would, in turn, further unnecessarily increase

the bandwidth and other resource usage of the content provider. Similarly, if the content provider’s

resource limits were reached, the system may crash and/or restart, meaning each of the connected

client devices would then attempt to reconnect, and continue crashing the system or, at a minimum,

further increase the bandwidth and other resource usage of the content provider. For those systems

with hierarchical links, these connectivity issues were, at best, partially alleviated, as the client

device was still required to remain connected to the content provider while browsing the link

hierarchy and until the specified content was fully delivered.

    54. However, by using the network-based methods and systems described in the ‘376 Patent,

these resource limitations could be offloaded onto a number of node servers, increasing both the

reliability of the system, as well as the number of concurrent client devices that could connect and

access specific content. In this way, the connected time for any individual server and network was

reduced, thus reducing the resource usage of that server and network. This is due to the innovative

node-server based operation of the ‘376 patented inventions. ‘376/Figs. 1 & 2; 3:23-4:33; 5:5-21;

7:12-8:16; 10:17-23; & 13:37-62. System 100 provides an exemplary illustration of the foregoing

architecture, including core server 101, node servers 102, and clients 103. ‘376/Fig. 1; 5:5-21;

7:12-8:16; 10:17-23; & 13:37-62.

    55. Among other things, the inventor of the Patent-in-Suit wanted to deliver high-bandwidth

content over a network, such as the Internet, in a reliable and scalable way such that any number

of client devices would be able to access specified content offered by the content provider while
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reducing, or eliminating, issues related to limitations on bandwidth and other resources, including

those noted herein. As noted in the specification, “[a]n ongoing problem for content delivery

networks is the delivery of high-bandwidth content in a satisfactory manner[, and] delivering full

video streams to large audiences (or similar network) so far has been impossible[, where e]xisting

systems for delivery of video streams over the Internet suffer from undesirable limitations.”

‘376/1:28-29 & 1:59-63. As further noted in the specification, while some distribution does occur,

that content is of low quality, including limited pixel resolutions, short lengths, small frame sizes,

and/or low frame rates, and “those Web sites have not delivered customized content (in terms of

either the time of delivery—i.e., video on demand—or the actual content delivered.” ‘376/1:63-

2:4. Thus, according to the specification, a system was needed “to facilitate the distribution of

content over a network” as, inter alia, “a single set of high-bandwidth content” or “multiple sets

of content at the same time.” ‘376/2:8-24; see also ‘376/3:23-4:33. However, including as noted

herein, existing technology offered only unacceptably inferior solutions of provisioning such

content to users via the Internet.

    56. In one embodiment, the ‘376 patented inventions comprise core server 101 in

communication with each node server 102 and each client 103, all of which are interconnected to

form a network via physical (topological) connections, for example, such as the exemplary system

shown in Figure 1 of the ‘376 Patent:




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‘376/ Fig. 1; see also 5:5-21; 7:12-8:16; 10:17-23; 10:38-67; & 13:37-62. Core server 101

comprises a network site that is controlled (at least in part) by an entity (e.g., a content provider)

desiring to distribute content to clients 103 for use on the clients 103. ‘376/3:33-42; 7:12-45. Any

or all of these devices may be embodied by any hardware compatible with the network, such as a

stationary computer (e.g., desktop, workstation, etc.), portable computers (e.g., laptop, handheld,

personal digital assistant, etc.), portable telephone (e.g., cellular phone, etc.), and television.

‘376/7:14-28; 7:46-8:16; 10:38-67; 13:29-62. Further, core server 101 may comprise a single

server or a combination of servers working in tandem, including any combination of hardware,

software, and/or firmware. ‘376/5:17-21; 7:46-67.

    57. Core server 101 communicates with node servers 102, wherein node servers 102 comprise

network sites that are not part of core server 101 and serve as an “army” enlisted by core server

101 to aid in distributing content to clients 103. ‘376/10:17-23. Further, node servers 102 may

comprise server systems owned by entities other than the content provider, as well as personal

computers of individuals or families. ‘376/10:38-11:38. Node servers 102 may further comprise a

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hierarchy of primary node servers and secondary node servers, wherein the hierarchy additionally

assists in distributing the load amongst the clients. ‘376/12:16-47; 20:15-40. Because the

distribution of high-bandwidth content by a content provider would necessarily overwhelm the

limited resources of a more centralized server architecture, especially when inundated with

communication from a large number of users, the multiple servers set up, including various role-

specific sub-servers, would further assist in handling such large amounts of communication,

including over the minimal bandwidth at the time. ‘376/1:49-56; 2:8-24; 3:61-4:33; 10:24-37;

10:54-58; 13:15-36; 18:24-27; 19:19-22.

    58. Including as described in the ‘376 Patent, in order to implement the unconventional

architecture of the ‘376 patented invention, exemplary method 200 is provided, which details the

various steps of communications, instructions, and requirements between core server 101, node

servers 102, and clients 103. ‘376/Fig. 2; 5:22-7:11; 23:1-24:40. The steps are performed in a

relative order, including as shown in Figure 2 of the ‘376 Patent.




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‘376/Fig 2; see also ‘376/5:22-7:11 & 23:1-24:40.

    59. At step 201, any one of clients 103 communicate with core server 101 to request the

identities of any node servers 102 that contain specific content that the user wishes to view, such

as a list of movies available. ‘376/Fig. 2; 5:30-37; 8:47-50; 13:63-14:10; 17:49-52; & 23:1-24:40.

    60. At step 202, any of connected clients 103 request content sought by the user. ‘376/Fig. 2;

5:38-39; & 13:63-14:10; & 23:1-24:40. Additionally, when client 103 requests the specified

content, client 103 may also provide information regarding a specific time that client 103 wishes

to receive the content. ‘376/Fig. 2; 5:39-44; 12:48-54; 13:63-67; 19:23-33; 19:48-65; 21:4-43; &

23:1-24:40.

    61. At step 203, core server 101 identifies various node servers 102 containing the specified

content. ‘376/Fig. 2; 5:45-51; 9:13-19; 16:58-64; 14:18-25; 17:49-67; & 23:1-24:40. As part of the

determination of relevant node servers 102, core server 101 may consider certain aspects of node

servers 102, including network topology, available resources, and/or proximity of each potential

node server 102 in relation to client 103. ‘376/Fig. 2; 5:51-64; 16:4-17:38; 18:1-39; & 23:1-24:40.

These characteristics may be stored in a database located on core server 101. ‘376/Fig. 2; 5:51-57;

6:11-14; 9:1-19; 16:4-17:38; & 23:1-24:40. Further, by considering these characteristics of

potential node servers 102, certain advantages of the patented invention are apparent, including

that delivery of content from node servers 102 more proximately located to client 103 may avoid

bottlenecks in the network and reduce the costs of transmitting the content. ‘376/5:64-6:11; 19:34-

47; & 23:1-24:40.

    62. At step 204, after determining the identity of viable node servers 102, core server 101

communicates with client 103 to transfer the identity, for example, the network address or IP

address, of the chosen node servers 102. ‘376/Fig. 2; 6:15-18; 7:1-11; 7:49-52; 8:50-57; 14:18-25;

17:50-54; & 23:1-24:40.
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    63. At step 205, client 103 determines which of the identified node server 102 from which to

obtain the specified content, including by considering topological and other characteristics of node

servers 102. ‘376/Fig. 2; 6:19-29; 14:18-25; 18:54-20:14; & 23:1-24:40. Notably, this step may be

combined with step 204 so that only core server 101 makes the determination and identification of

node server 102. ‘376/7:6-9; 8:60-67; & 23:1-24:40.

    64. At step 206, client 103 initiates a connection to selected node server 102 and requests

node server 102 begin transmitting the specified content. ‘376/Fig. 2; 6:30-35; 7:1-11; 14:61-64;

20:64-66; & 23:1-24:40. The request from client 103 may include the identification of the specified

content, as well as a specific time client 103 wishes to receive the content, whether immediately

or at a future time. ‘376/Fig. 2; 5:39-44; 6:30-35; 12:48-54; 13:63-67; 19:23-33; 19:48-65; 21:4-

43; & 23:1-24:40. Further, if step 204 and step 205 are combined, step 206 may be modified so

that core server 101, rather than client 103, contacts node server 102 to instruct node server 102 as

to the content sought and any scheduled time. ‘376/Fig. 2; 7:9-11.

    65. At step 207, selected node server 102 begins transmitting the content to client 103 if the

user has chosen to have the content received immediately. ‘376/Fig. 2; 6:36-51; 12:48-54; 21:4-8;

21:23-26; & 23:1-24:40. Otherwise, if the user has chosen to receive the content at a future time,

node server 102 delays transmission until both client 103 is connected and the scheduled time

occurs. ‘376/Fig. 2; 6:34-51; 12:64-13:14; 20:64-21:58; & 23:1-24:40. Additionally, in the event

node server 102 no longer stores the content at the time the delivery is scheduled, node server 102

may direct client 103 to another known node server 102 that does have the content. ‘376/Fig. 2;

6:45-51 & 23:1-24:40. Node server 102 may also redirect client 103 if node server 102 determines

a more efficient node server 102 exists, such as by considering the noted characteristics above.

‘376/Fig. 2; 6:45-51; 18:58-65; 19:34-39; 20:27-40; & 23:1-24:40.

    66. At step 208, after the scheduled time has passed, client 103 contacts core server 101 to
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notify core server 101 as to whether client 103 did or did not receive the content as scheduled.

‘376/Fig. 2; 6:52-55; 9:19-43; & 23:1-24:40. This may further include information regarding the

speed and length of transmission or other characteristics of the transmission, such as bandwidth

and/or latency performance. ‘376/Fig. 2; 6:55-65; 15:17-24; & 23:1-24:40. Alternatively, or in

addition, this information may be communicated to core server 101 by node server 102. ‘376/Fig.

2; 6:65-67; 21:59-22:12; & 23:1-24:40. This information is then used by core server 101 to

determine whether the transfer was successful, and, if so, whether the owner of node server 102 is

to receive the chosen incentive for a transfer. ‘376/Fig. 2; 4:34-47; 9:19-43; 10:3-16; 10:54-67;

13:10-14; & 22:13-24:40.

    67. The claimed inventions of the ‘376 Patent have advantages over conventional systems,

including, inter alia, that they allow a user to more reliably request and view specified content

from the content provider via the use of the distributed node server architecture. ‘376/Figs. 1 & 2;

3:23-4:33; 5:5-21; 7:12-8:16; 10:17-23; & 13:37-62. Advantageously, by providing node servers

102 as the intermediary between clients 103 and core server 101, node servers 102 act as a carrier

of the data from users to the content provider and vice versa. ‘376/10:17-37. This, in turn, requires

the unconventional use of distributed third-party-owned node servers 102, including the managing

of information related to the capabilities of each node server 102, the content stored therein and its

availability. ‘376/11:56-13:36. Furthermore, where the network connection between a client 103

and core server 101 is potentially somewhat unreliable and lower bandwidth say over a wireless

network, the redirection of client 103 to a more reliable and proximately located node server 102

represents an architectural improvement over conventional, pure server-client systems. In this way,

the bandwidth-heavy communications overhead of transmitting high-bandwidth content is

performed on a far more reliable network, resulting in much less likelihood a user would get logged

off prior to the completed transfer or the connection failing, and, furthermore, a diminished amount
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of traffic occurs on core server 101, effectively permitting more clients 103 to reliably access

specified content. ‘376/1:49-56; 2:8-24; 3:61-4:33; 10:24-37; 10:54-58; 13:15-36; 18:24-27;

19:19-22; & 19:66-20:63. Thus, the patented tiered-based server system results in a smoother,

more reliable, and better user experience.

    68. Including as noted above, the specification of the ‘376 Patent teaches specifically how

the technological improvement of the network content distribution systems and methods of the

‘376 Patent is achieved. Among other innovations, the inventions are able to provide to means for

the content provider’s system (for example, core server 101), to communicate with a user’s device

(for example, client 103) and determine what content the user is requesting (for example, step

202); determine an available third-party server (for example, node server 102) to identify which

of these third-party servers contains the content sought by the user (for example, step 203); send

said identity of the third-party server to the user’s device (for example, step 204) so that the user’s

device can contact and connect to the best third-party servers identified by the content provider

(for example, step 205) and request the specified content (for example, step 206); and communicate

with the user’s device and chosen third-party servers to determine that the third-party servers

transmitted the content to the user’s device (for example, step 207) and that the user’s device

successfully received the content (for example, step 208). Thus, the invention details how the

improved network content distribution systems and methods can be realized and how its

functionality can be accomplished. The claims of the ‘376 patent recite how to implement these

improved network content distribution systems and methods. Furthermore, the claims require a

non-conventional and non-generic method in order to allow for the system to distribute the

specified content via the use of distributed third-party node servers. Thus, the claimed inventions

of the ‘376 Patent describe an application specific order of steps for use in a system that is not a

generic or conventional arrangement.
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    69. These claimed limitations disclose a particular architecture and way in which the

provisioning of specified high-bandwidth content over the Internet can be accomplished from a

core server to a client via the use of an intermediary node server which receives an incentive as

compensation for storing the content and transmitting the content to any client that requests it,

rather than requiring the core server to transfer the content to the client, including the specific way

the negotiation and communication between the core server, node servers, and client is

accomplished, including to provide a distributed network of third-party-owned node servers

providing a more reliable and scalable system and providing a better user experience, including by

permitting asynchronous and/or on-demand viewing at the client device – as opposed to using

conventional systems and methods to provision content over a network, such as those described in

the ‘376 Patent and herein. An example of such architecture and functionality is as shown in Figure

1 of the ‘376 Patent:




‘376/Fig. 1; see also 5:5-21; 7:12-8:16; 10:17-23; 10:38-67; & 13:37-62.

    70. On the other hand, including as noted herein, the convention at the time of the ‘376

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patented inventions was to implement one of the three approaches noted above, each of which

simply resulted in additional issues being created. This was due to, at least in part, for example,

conventional content providers seeking to invest resources in systems which they entirely owned

and managed, often looking to the existing television broadcast-based systems or guidance and/or

inspiration. Additionally, conventional content providers sought to avoid the hassle of having to

depend on third parties to cache copies of content on the third parties’ devices. Including as noted,

this resulted in users having unreliable access to content and often resulted in the systems of the

content providers crashing or otherwise becoming inoperable.

    71. Another unconventional and inventive aspect of the claimed inventions of the ‘376 Patent

includes the use of the node servers to deliver content at times other than when the client is

connected to the core server. ‘376/5:38-44; 12:37-13:14; 21:4-43; & 23:1-24:40. In other words,

the use of node servers permits client devices to request and view specified content at a time the

user selects. ‘376/5:38-44; 12:37-13:14; 21:4-43; & 23:1-24:40. Thus, advantageously, the client

device is given the identity of a node server or node servers which contain the specific content

sought by the user, so that the client device need only connect to the node server or servers to

retrieve the content, and the core server is only contacted again during the transfer verification

step. In this way, the core server usage is reduced, and, as a result, the use of the content provider’s

resources is likewise reduced.

    72. In turn, this use of node servers for selective delivery, inter alia, allows asynchronous

and/or on-demand distribution of the content, regardless of the status of the content provider’s

bandwidth usage and availability, resulting in users being able to view the specified content even

when the core server is otherwise inoperable or unreachable. At the time of the ‘376 patented

inventions, the convention was, including as noted herein, to provide such asynchronous or on-

demand experience via physical media that the user was required to locate, such as VHS, CDs,
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and/or DVDs.

B. The Claims Of The ‘376 Patent Are Directed To Patentable Subject Matter

    73. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    74. Including as set forth herein, the claims of the ‘376 Patent are directed to patentable

subject matter. The claims of the Patent-in-Suit, including the asserted claims, when viewed as a

whole, including as an ordered combination, are not merely the recitation of well-understood,

routine, or conventional technologies or components. The claimed inventions were not well-

known, routine, or conventional at the time of the invention, over ten years ago, and represent

specific improvements over the prior art and prior existing systems and methods.

   1. The ‘376 Patent is not Directed to an Abstract Idea

    75. The claims of the ‘376 Patent neither describe nor claim a concept nor a generic method

or computerized system. Instead, the ‘376 claims address, among other things, a persistent problem

with systems for provisioning content over a network at the time of the invention at the time of the

invention whereby delivery of content, including high-bandwidth content, to large numbers of

client devices asynchronously and/or on-demand in a scalable and reliable manner was unavailable

and/or impossible (for example, bandwidth and resource limitations made the ability of a content

provider to deliver high-bandwidth content); impractical (for example, requiring content providers

to guess traffic loads and requiring large initial investment to meet these loads and/or requiring

client devices remain connected for lengthy periods of time using unreliable connections);

cumbersome (for example, requiring users browse clunky, confusing hierarchical link systems to

find specific content they wish to view); and/or prone to errors (for example, the limited resources

made it difficult to deliver content to large numbers of client devices without resulting in system

crashes or other errors upon reaching said limits). The ‘376 patented inventions enable a substantial

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improvement in content delivery systems, including their functionality and utility.

    76. Prior to the ‘376 patented inventions, content that was delivered was typically of low

quality in order to reduce data size and, thus, reduce usage of limited bandwidth and other

resources. ‘376/1:61-2:2. Such reduced quality video provided a poor user experience, as many

videos were very short, low resolution, and/or low frame rate, often resulting in a blurry,

unwatchable short clip. ‘376/1:61-2:2. Additionally, and as described herein, this reduced quality

content was statically provided, meaning the content was delivered to the client device regardless

of whether the user wished to view the content, meaning resources were unnecessarily used in the

transfer. ‘376/2:2-4; 4:13-27.

    77. Prior to the claimed inventions, conventional systems required substantial resources on

the server side of the content provider in order to operate reliably. Further, including as noted

herein, the convention at the time was to use only a system wholly owned, distributed, and

maintained by the content provider comprising, at best, fully-mirrored server clusters distributed

remotely from the central server due to not only limited computing (e.g., memory and processing

power) and network (e.g., bandwidth) resources, but also because, as noted above, one could not

be certain that any specific website would contain the specific content sought by the user. Thus,

attempts to meet resource requirements meant heavy investment in computing power and

bandwidth, each of which was a very expensive proposition at the time. It was far less expensive

resource-wise to handle the amount of communications and meet bandwidth requirements by use

of distributed servers, especially where those servers were owned by third parties and required the

content provider only pay when transfers actually occurred. The specific claimed inventions of the

‘376 Patent disclose unconventional systems and methods which solve these limitations, including,

without limitation, by providing a centralized core server owned by the content provider capable

of handling all inbound and outbound connections from client devices requesting content and
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redirecting them to remotely-located third-party-owned node servers required to be capable of

handling only a subset of all inbound and outbound client device connections.

    78. These claimed limitations disclose a particular architecture and way in which the

provisioning of specified high-bandwidth content over the Internet can be accomplished from a

core server to a client via the use of an intermediary node server which receives an incentive as

compensation for storing the content and transmitting the content to any client that requests it,

rather than requiring the core server to transfer the content to the client, including the specific way

the negotiation and communication between the core server, node servers, and client is

accomplished, including to provide a distributed network of third-party-owned node servers

providing a more reliable and scalable system and providing a better user experience, including by

permitting asynchronous and/or on-demand viewing at the client device – as opposed to using

conventional systems and methods to provision content over a network, such as those described in

the ‘376 Patent and herein. 376/Figs. 1 & 2; 3:23-4:33; 5:5-21; 7:12-8:16; 10:17-23; & 13:37-62.

An example of such architecture and functionality is as shown in Figure 1 of the ‘376 Patent:




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‘376/Fig. 1; see also 5:5-21; 7:12-8:16; 10:17-23; 10:38-67; & 13:37-62.

    79. More specifically, the claimed inventions of the ‘376 Patent provide particular methods

and systems for the provision of content over a network that require, for example, “identifying at

a core server a network site that will act as a node server for distribution of specified content” and

“providing from the core server the specified content to the node server,” which specifies the

specific way that a node server is provided specific content to be delivered to client devices.

‘376/Claim 57. The particular methods and systems further require “communicating to the client

the identity of a node server having the specified content store thereon, thereby enabling the client

to request transmission of the specified content from the node server,” which specifies the

information exchanged between the devices in order to facilitate the handoff from the core server

to the node server and facilitate the transfer of content from the node server to the client device.

‘376/Claims 37 & 57. The particular methods and systems also require “ascertaining that the node

server transmitted the specified content” and “offer[ing] an incentive as compensation [to an owner

of the node server] for transmission of the specified content to the client,” which serves as a means

of ensuring that the handoff was successful and that the transfer actually occurred, including by

providing the owner of the node server compensation for retaining the content and/or transferring

the content to any client device redirected to the node server. ‘376/Claims 37 & 57. Including as

described herein, these claimed limitations disclose a particular way in which the patented node

server-based architecture can be implemented, including specific information transmitted between

each of the devices and a verification of transfer to ensure a reliable user experience – as opposed

to using conventional methods and systems to deliver content, such as those described in the ‘376

Patent and herein. ‘376/Figs. 1 & 2; 3:23-4:33; 5:5-21; 7:12-8:16; 10:17-23; & 13:37-62.




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       a. The Claims of the ‘376 Patent are Directed to Innovative Computer- and Network-
          Based Systems and Methods

    80. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    81. None of the elements that comprise the claimed apparatuses, systems, computer readable

media, or methods that are described in the claims of the ‘376 Patent are abstract. Including as

described herein, and in the ‘376 Patent, the computer readable storage media, client, core server,

node server, and network interfaces (‘376/Figures 1-2 (and associated description in the

specification)) are physical and/or tangible things known to a person of ordinary skill in the art

(“POSITA”) in light of the specification; and in view of the technological solutions and

unconventionality noted herein. ‘376/3:23-60.

    82. As exemplified by claim 37, the subject claims of the ‘376 Patent are directed to:

       37. A computer readable storage medium or media encoded with one or more
        computer programs including instructions for effecting the provision of content
        over a network, comprising:
           instructions for receiving a request from a client for specified content;
           instructions for communicating to the client the identity of a node server having
             the specified content stored thereon, thereby enabling the client to request
             transmission of the specified content from the node server; and
           instructions for ascertaining that the node server transmitted the specified
             content to the client, wherein an owner of the node server is offered an
             incentive as compensation for transmission of the specified content to the
             client.

‘376/Claim 37.

    83. As exemplified by claim 57, the subject claims of the ‘376 Patent are directed to:

       57. A method for effecting the provision of content over a network, comprising the
        steps of:
           identifying at a core server a network site that will act as a node server for
             distribution of specified content;
           providing from the core server the specified content to the node server;
           receiving at the core server a request from a client for the specified content;
           communicating from the core server the identity of the node server to the client
             to enable the client to request transmission of the specified content from the

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             node server; and
           ascertaining at the core server that the node server transmitted the specified
             content to the client, wherein an owner of the node server is offered an
             incentive as compensation for transmission of the specified content to the
             client.

‘376/Claim 57.

    84. Claims 37 and 57 of the ‘376 Patent, quoted above, are exemplary. A POSITA would

understand that the language of the ‘376 claims is not directed merely to a method of generically

or conventionally provisioning content over a network. Rather, it comprises the specific aspects

noted herein which provided the noted inventive, technological solutions to the problems faced by

the inventor. Specifically, as noted herein, the claimed inventions provide inventive,

unconventional, and technological solutions to the conventional problems of provisioning varying

amounts of content of varying sizes to multiple clients asynchronously and/or on-demand in a

distributed-server-based system which facilitates the provisioning of content through the

distribution of the content from remote node servers which provide the content to clients, thereby

spreading the load of the provision of content across multiple networks and servers.

       b. The ‘376 Claimed Inventions Could not be Done Manually or in One’s Head

    85. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    86. A POSITA would understand that the claimed solutions could not be done manually,

including because they necessarily require implementation via specialized, or specially

programmed, computers, including one or more networks, a core server, a node server, and,

further, including at least communicating the identity of a node server to a client and transmitting

the selected content from the node server to the client (‘376/Claim 37; Figs. 1 & 2; 1:49-56; 2:8-

24; 3:23-4:47; 5:5-8:16; 8:47-50; 8:60-67; 9:1-43; 10:3-11:38; 11:56-14:25; 14:61-64; 15:17-24;

16:4-17:38; 17:49-67; 18:1-39; & 18:54-24:40); and providing specified content to an identified

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node server, communicating the identity of the node server to a client, and transmitting the selected

content from the node server to the client (‘376/Claim 57; Figs. 1 & 2; Figs. 1 & 2; 1:49-56; 2:8-

24; 3:23-4:47; 5:5-8:16; 8:47-50; 8:60-67; 9:1-43; 10:3-11:38; 11:56-14:25; 14:61-64; 15:17-24;

16:4-17:38; 17:49-67; 18:1-39; & 18:54-24:40), nor can they be performed in a person’s head.

Furthermore, for example, the constant open connectivity required for sending and receiving the

specified content from the node server at each of the clients is not something that could be done

manually or in one’s head.

   2. The ‘376 Claimed Inventions Provide Innovative, Unconventional Concepts and
      Technological Solutions

    87. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    88. In sum, including as noted herein, the claimed technologies of the Patent-in-Suit

improved, inter alia, prior computer and networking technology, including in connection with,

among other things:

       A. Improving and increasing efficiencies of the claimed inventions, including over inferior

           alternative means for achieving the same or similar ends of distributing content,

           including by reducing or eliminating the cumbersome steps of previous methods of

           content transfer over the Internet and providing the ability to transfer the specified

           content at a time chosen by the user where a connection to the Internet may be more

           readily available. See, e.g., ‘376/Figs. 1 & 2; 3:23-4:33; 5:5-21; 7:12-8:16; 10:17-23;

           & 13:37-62.

       B. Leveraging the capabilities of already-existing third-party devices, including their

           Internet connection capabilities (including through use of custom hardware and/or

           software), including by shifting the transfer of data from the core server to the node


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           servers, to greatly enhance the functionality of content distribution systems, including

           because the node servers, with may be more proximately located to the client and have

           additional resources to the core server, may then store the specified content for transfer

           to the client via the Internet at a later time. See, e.g., ‘376/Figs. 1 & 2; 1:49-56; 2:8-24;

           3:23-4:33; 5:5-21; 7:12-8:16; 10:17-37; 10:54-58; 13:15-62; 18:24-27; & 19:19-22.

       C. Providing an incentive-based system to permit the content provider to ensure the

           specified content was successfully transferred from the node server to the client,

           including by varying the incentive based on the amount of the content transferred and

           the quality thereof. See, e.g., ‘376/Fig. 2; 4:34-47; 6:52-67; 9:19-43; 10:3-16; 10:54-

           67; 13:10-14; 15:17-24; & 21:59-24:40.

    89. The ‘376 patented inventions also provide computer and network efficiency at least

because they allow content provisioning systems to have the useful and improved claimed

functionality without the need for the content provider to heavily invest in resources, such as

bandwidth, hardware, and/or extra software and data processing required on the core server. The

inventor did more than simply apply current technology to an existing problem. The inventions,

as embodied in the claims of the ‘376 Patent, were a significant advancement in content

provisioning systems and methods. The inventions covered by the claims of the ‘376 Patent

comprise utilization of the Internet to create a novel architecture enabling provision of content,

including high-bandwidth content, by node servers in which a third party has already invested to

provide resources for quickly, easily, and reliably transferring content to client over the Internet,

and, more specifically, to what is essentially the backbone of what is referred to today as distributed

network “streaming.”

    90. These noted improvements over the prior art represent meaningful limitations and/or

inventive concepts based upon the state of the art over two decades ago. Further, including in view
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of these specific improvements, the inventions of the claims of the ‘376 Patent, when such claims

are viewed as a whole and in ordered combination, are not routine, well-understood, conventional,

generic, existing, commonly used, well known, previously known, typical, and the like over two

decades ago, including because, until the inventions of the claims of the Patent-in-Suit, the claimed

inventions were not existing or even considered in the field, and, in fact, went against the

conventional methods.

    91. The claims of the ‘376 Patent, including as a whole and where applicable in ordered

combination, comprise, inter alia, a non-conventional and non-generic arrangement of

communications between node servers and client devices that is a technical improvement to the

communications between the devices and content distribution services, including those

improvements noted herein.

    92. The claimed inventions are necessarily rooted in computer technology, i.e., network

content provisioning technology, and comprise improvements over prior technologies in order to

overcome the problems, including those noted herein, specifically arising in the realm of computer

networks. The claimed solutions amount to an inventive concept for resolving the particular

problems and inefficiencies noted herein, including in connection to provisioning content from a

content provider to client over the Internet, including as described.

       a. The ‘376 Claimed Inventions Provide Technological Solutions to Technological
          Problems

    93. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    94. The technical problems addressed by the claimed inventions of ‘376 Patent include the

delivery of content, including high-bandwidth content, to large numbers of client devices

asynchronously and/or on-demand in a scalable and reliable manner, which, at the time of the ‘376


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patented inventions, was difficult, impractical, and/or cumbersome, including because, as noted

herein, provisioning content over a network at the time was unavailable and/or impossible (for

example, bandwidth and resource limitations made the ability of a content provider to deliver high-

bandwidth content); impractical (for example, requiring content providers to guess traffic loads

and requiring large initial investment to meet these loads and/or requiring client devices remain

connected for lengthy periods of time using unreliable connections); cumbersome (for example,

requiring users browse clunky, confusing hierarchical link systems to find specific content they

wish to view); and/or prone to errors (for example, the limited resources made it difficult to deliver

content to large numbers of client devices without resulting in system crashes or other errors upon

reaching said limits). Conventional methods further lacked the ability to provide a distributed

network of servers from which the user could request and access specified content asynchronously

and/or on-demand. Further, physical limitations existed which limited available resources,

including bandwidth, storage, and computing power, which could result in the system being

unworkable or crashing.

    95. An additional problem that existed with conventional systems was the use of fraudulent

logs by the owners of content provided by content providers. For example, conventional systems

at the time often included the provision of content in the form of advertisement banners throughout

a webpage. At the time, there were webpages that would load with a parade of banner

advertisements filling up the user’s screen, and, each time the advertisement was loaded, the

webpage owner would be paid for displaying the advertisement. However, due to the

overwhelming nature of webpages with numerous banner advertisements, users would often leave

the webpage before all of the advertisements loaded. Thus, to get around this, webpage owners

began creating fraudulent logs to indicate the banner advertisements were loaded, but the

advertisement providers had no way of verifying this. As a result, advertisement providers were
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often forced to pay for views of their content that simply never occurred.

    96. Technical solutions provided by the claimed inventions of the ‘376 Patent to the technical

problems faced include the use of a distributed node server architecture wherein the node servers

may be added to a vast “army” of third-party servers for use in distributing content to client

devices; the identification and maintenance of a list of node servers by the core server and transfer,

from the core server to the client device, of the identity of selected, most proximate and/or available

node servers which contain the specified content sought by the user; the use of incentives as

compensation to the owners of the node servers for the use of their additional resources; and the

communication of a successful transfer of the specified content between the identified node server,

or node servers, and the client device, including in order to ensure the user was able to receive the

content and determine whether the chosen incentive should be given to the owner of the node

server by the content provider. ‘376/ Figs. 1 & 2; Figs. 1 & 2; 1:49-56; 2:8-24; 3:23-4:47; 5:5-

8:16; 8:47-50; 8:60-67; 9:1-43; 10:3-11:38; 11:56-14:25; 14:61-64; 15:17-24; 16:4-17:38; 17:49-

67; 18:1-39; & 18:54-24:40. Including as noted herein, this, in turn, provides the ability for client

devices to be served by node servers with better and/or more available resources and/or that are

more closely located to the client, including by employing already-existing node servers owned by

third parties which provide specified content to only a subgroup of client devices, thus allowing

the core server to act as a traffic director, redirecting client devices to a more local node server

with its own bandwidth, hardware, and software used to deliver the content to a client device at

the specific time the client device requests the content. ‘376/Figs. 1 & 2; 1:49-56; 2:8-24; 3:23-

4:47; 5:5-8:16; 8:47-50; 8:60-67; 9:1-43; 10:3-11:38; 11:56-14:25; 14:61-64; 15:17-24; 16:4-

17:38; 17:49-67; 18:1-39; & 18:54-24:40.

    97. The inventions claimed in the ‘376 Patent further represent specific improvements in the

functionality and capabilities of computer networking, databases, video distribution services, and
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web services and networks, including in regard to network content distribution services, systems,

and network databases, including a network location database. The inventions claimed in the ‘376

Patent, for example, improve the functionality of network database systems, for example, by

facilitating or allowing the core server to maintain a list of node servers, and their respective

available resources, proximity, availability for use, content stored thereon, and other information,

including so that the foregoing information may be used to provide the client device with the

identity of the most reliable node server which can provide the specified content sought by the

user. ‘376/Fig. 2; 5:51-64; 6:11-14; 9:1-19; 16:4-17:38; 18:1-39; & 23:1-24:40.

    98. The inventions claimed in the ‘376 Patent further represent specific improvements in the

functionality and capabilities of computer databases, video distribution services, and web services

and networks, including in regard to network content distribution services, systems, and network

databases, including a network location database. The inventions claimed in the ‘376 Patent, for

example, improve the functionality of video distribution services and network database systems,

for example, by facilitating or allowing the core server to audit and/or otherwise verify whether

specified content requested by the user was actually transferred between a node server and client,

including via the core server communicating with either or both the node server and client to

request confirmation of the transfer. ‘376/Fig. 2; 4:34-47; 6:52-67; 9:19-43; 10:3-16; 10:54-67;

13:10-14; 15:17-24; & 21:59-24:40. As a result, the content provider is able to limit payment of

incentive compensation only to content that has actually been transferred. ‘376/Fig. 2; 4:34-47;

6:52-67; 9:19-43; 10:3-16; 10:54-67; 13:10-14; 15:17-24; & 21:59-24:40.

    99. Including as described in the ‘376 Patent, and as noted herein, the claimed inventions

include unconventional and inventive technological solutions to the technical problems that existed

at the time, including to increasing and/or improving, for example, ease-of-use, functionality,

efficiency, and reliability in systems for content distribution over a network and network databases.
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For example, the claimed inventions of the ‘376 Patent, including as described herein, provide

technical solutions that improve, inter alia, computer and database technology, including for

distribution of high-bandwidth content over a network, including by providing a distributed

network of third-party-owned node servers providing a more reliable and scalable system and

providing a better user experience, including by permitting asynchronous and/or on-demand

viewing at the client device. In this way, the claimed inventions of the ‘376 Patent reduce the use

of the content provider’s computing devices (e.g., servers) and resources thereon, including the

use of the content provider’s and user’s network traffic (e.g., bandwidth) – which, including as

noted herein, was highly limited at the time of the patented inventions, especially on mobile

networks, and often costly and not always available – because the content provider is not required

to maintain connections with every client the entire time the specified content is being transferred

to the client, including because such transfers are offloaded to the node servers. As noted herein,

specifically with respect to home devices and mobile devices, it was often not possible to

continually maintain a network connection, especially in view of the potential for the content

provider’s servers to become unreachable due to crashing or otherwise, resulting in the client

device having to attempt to reconnect before the content was fully delivered. The inventions of the

‘376 Patent provide a technical solution to this problem by offloading the large number of

connections from the core server onto a distributed system of node servers, each of which serves

only a small portion of the total amount of clients.

       b. The ‘376 Claimed Inventions Provide Unconventional Solutions

    100. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    101. Including as noted herein, what was conventional at the time comprised, for example,

pure single server-client systems, pure multi-server single-client systems, and singularly-owned
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distribution systems, which, at best, either caused the data to be so small that it was of poor quality

or brute-forced the content by throwing costly bandwidth, hardware, and software at the problem,

including as shown in the prior art systems described in the specification, including the cited

Kenner reference, and herein. However, including due to limitations on available resources and

the lack of consistent, reliable, and scalable systems to provide a reliable user experience, users

seeking high-bandwidth content were often simply unable to do so because it was unavailable

because content providers simply did not, because they could not, provide it. Further, a user was

unable to choose when they viewed the specified content absent some clever, yet burdensome,

methodology of calculating exactly how long the transfer would take, connecting at the exact time

necessary so the file would be available when the user wished, and hoping the transfer completed

without issue, such as disconnection. By leveraging network and web-based systems, the patented

inventions improved upon the conventional methods of distribution of high-bandwidth content

over a network, which suffered from the many issues noted herein.

    102. Unconventional solutions provided by the claimed inventions of the ‘376 Patent include

the leveraging of the resources, such as bandwidth and computing power and/or storage, of third-

party-owned computing devices in order to create a distributed network of servers which may store

various content offered by the content provider so that the node servers, rather than the core server,

are required to maintain a connection with the client devices for transfer of specified content.

Including as set forth in the specification of the ‘376 Patent, the bandwidth-heavy communications

overhead of transmitting high-bandwidth content is performed on a far more reliable network,

resulting in much less likelihood a user would get logged off prior to the completed transfer or the

connection failing, and, furthermore, a diminished amount of traffic occurs on the core server,

effectively permitting more clients to reliably access specified content. ‘376/Figs. 1 & 2; 1:49-56;

2:8-24; 3:23-4:33; 5:5-21; 7:12-8:16; 10:17-37; 10:54-58; 13:15-62; 18:24-27; & 19:19-22.
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    103. The patented inventions of the ‘376 Patent further provided unconventional solutions by

at least leveraging the use of incentives in order to recruit third parties to provide the use of their

resources, such as bandwidth and computing power and/or storage, and ensuring the content was

transferred in order to correctly award incentives for successful transfers. ‘376/Fig. 2; 4:34-47;

6:52-67; 9:19-43; 10:3-16; 10:54-67; 13:10-14; 15:17-24; & 21:59-24:40. Including as noted

herein, and as argued during prosecution of the ‘376 Patent, it was unconventional to have

distributed, server-based and/or network-based systems which were provide built via the use of

incentives to third parties for the user of already-existing resources, as opposed to the conventional

method of content providers expending both money, including in infrastructure expense and

ongoing operation costs, and available resources in order to meet traffic demands.

    104. Further, the asserted claims of the ‘376 Patent claim unconventional systems, computer

readable media, and methods which provide a distributed network of third-party-owned node

servers providing a more reliable and scalable system and providing a better user experience,

including by permitting asynchronous and/or on-demand viewing at the client device – as opposed

to using conventional systems and methods to provision content over a network, such as those

described in the ‘376 Patent and herein.

       c. The ‘376 Claimed Inventions Provide Technological Solutions to Technological
          Problems

    105. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    106. The claimed content provisioning systems and methods of the ‘376 Patent provide a

number of benefits over conventional systems and methods, including conventional pure single

server-client systems, conventional pure multi-server single-client systems, and conventional

singularly-owned distribution systems. These benefits include the ability of the content provider


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to accommodate vastly more client devices; provide a larger amount of content using the same

resources; provide improved quality and sized content; provide content to client devices in an

asynchronous and/or on-demand manner; reduced costs to content providers for implementing and

maintaining their systems; distributing the resource load across all node servers; exponential

reduction in amount of streams by requiring only a single transmission to each client by the node

server; permitting the distribution of content via transmission at off times, rather than precisely

when the client connects; better scalability and the ability to add node servers in an exponential

growth; providing a feedback mechanism to ensure the content was actually delivered via strong

compensation mechanisms; improved system reliability to client devices; and/or cost-savings for

client devices by reducing the amount of data used and/or connectivity time. ‘376/Claims 37 & 57.

    107. In addition, conventional systems and methods required heavy investment by the content

provider as the amount or scale of the servers increases, meaning the content provider was required

to pay for additional hardware and/or software as well as the maintenance costs therefor, including

because, at the time, the convention was not to have idle bandwidth available because the

enormous expense of bandwidth meant such idle bandwidth was money wasted. The claimed

inventions of the ‘376 Patent allow, for example, the system to distribute the specified content via

the use of distributed third-party node servers, thus, inter alia, offloading and reducing resource

usage of the content provider’s servers, resulting in less investment needed by the content provider.

The claimed inventions of the ‘376 Patent further allow, for example, asynchronous and/or on-

demand distribution of the content, regardless of the status of the content provider’s bandwidth

usage and availability, resulting in users being able to view the specified content even when the

core server is otherwise inoperable or unreachable. The claimed inventions of the ‘376 Patent

allowed devices with lower bandwidth and intermittent internet connectivity, such as dial-up and

wireless or mobile devices, to work reliably with distributed content systems when requesting and
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receiving content from the content provider’s server, including because the connectivity to the

content provider’s systems was done on a reliably connected, more proximately, located third-

party server.

         d. The ‘376 Claimed Inventions Provide Technological Solutions to Technological
            Problems

    108. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    109. Consistent with the above discussion, including the problems solved that had been faced

by conventional content provisioning systems and provisioning content to clients over a network,

and further in consideration of the ‘376 Patent specifications, the prosecution history, and cited

prior art, a POSITA would understand that the claimed “[core server] identifying…a network site

that will act as a node server for distribution of specified content; [to] provid[e]…the specified

content to the node server; [so that the core server can]…receiv[e]…a request from a client for

specified content;…communicat[e] to the client the identity of the node server having the specified

content…enabling the client to request transmission of the specified content from the node server;

and…ascertain[] that the node server [has] transmitted the specified to the client, wherein an owner

of the node server is offered an incentive as compensation for transmission of the specified content

to the client,” including based on the use of a distributed node server architecture, and including

in combination with the claims of the ‘376 Patent, as a whole, is an inventive technological

solution, including in view of the benefits and unconventional solutions this involves and

contributes to. ‘376/Claim 1; Figs. 1 & 2; 1:49-56; 2:8-24; 3:23-4:47; 5:5-8:16; 8:47-50; 8:60-67;

9:1-43; 10:3-11:38; 11:56-14:25; 14:61-64; 15:17-24; 16:4-17:38; 17:49-67; 18:1-39; & 18:54-

24:40.

    110. For example, using certain technology claimed in the ‘376 Patent, (for example, the core


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server and node server in conjunction), it becomes possible to, among other things, provide the

node server with content requested by client devices so that client devices may request and obtain

specified content from the node server at a more preferential time for the client device, such as

during off-peak hours or when the client device has a more stable connection. ‘376/Figs. 1 & 2;

1:49-56; 2:8-24; 3:23-4:47; 5:5-8:16; 8:47-50; 8:60-67; 9:1-43; 10:3-11:38; 11:56-14:25; 14:61-

64; 15:17-24; 16:4-17:38; 17:49-67; 18:1-39; & 18:54-24:40.

    111. The ‘376 claimed inventions comprise inventive improvements over prior technologies

in order to overcome problems, including those technical problems noted herein, related to

computer networks, content distribution, and database management (for example, related to

content providers) including in combination with the provision of high-bandwidth content over the

Internet from a content provider to many clients, the ability to provide clients with multiple pieces

of content, and the ability to access and communicate with the user’s client device at various times,

including in order to distribute content at a time chosen by the user, including via a network which

is accessible via a web browser or similar functionality. For example, the claimed inventions

provide inventive solutions related to the conventional issues and inefficiencies (for example, as

described herein) that were related to distributing large amounts of content and/or content to large

numbers of clients (for example, high-bandwidth content from content providers) over a network,

such as the Internet, via the use of third-party-owned, distributed node servers, including storing

and/or maintaining relevant characteristics regarding the node servers (for example, bandwidth,

resources, proximity to a client, etc.) in a node server database and which may be accessible via a

network (for example, the Internet) such as through a web server. Further, the use of the feedback

compensation system provides the content provider a means of ensuring the content was

successfully received by the client, avoiding the issue of conventional systems where false transfer

logs resulted in content providers paying for transfers that never actually occurred.
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    112. The ‘376 patented inventions further provide inventive improvements in network,

including distributed content network, architecture, including because the unconventional

multiserver-server-client architecture and shifting of communications and workload from a

centralized server to a distributed node server system improve over the conventional, proprietary

singular server-client architecture. Including as noted herein, in doing so, the claimed inventions

reduce the workload of the content provider’s servers and use of the content provider’s limited

resources by providing for various tasks to be run and take place on the distributed node servers

which act as intermediaries. Specifically, a POSITA would understand that the avoidance of

overloading the available resources of the content provider, including by offloading onto a tiered

architecture of node servers, was inventive and serves as an improvement in network, including

distributed content network, architecture. Further, the use of an incentive to aid in recruiting

additional third parties to provide the user of the already-existing resources was inventive. Further,

the use of a feedback notice informing the core server that the node server successfully transferred

the entirety of the specified content, including so that the owner of the node server was properly

provided the chosen incentive, was inventive and serves as an improvement in network, including

distributed content network, architecture.

   3. The Claims of the Patent-in-Suit do not Unreasonably Preempt their Respective
      Fields

    113. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    114. Including as noted herein, the ‘376 Patent does not claim merely the abstract idea of

“provisioning content over a network” that provides no inventive concept. Instead, the ‘376 Patent

claim specific methods and systems for provisioning specifically selected content, including from

a node server containing the specific content selected by the client, including via a core server


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receiving a request from a client to view specific content and directing the client to connect to a

specific node server containing that content so that the client may receive the content from the

node server, and determining that the selected node server has transmitted the selected content to

the client where infringement of the patent claims can be readily avoided while still practicing any

alleged abstract idea, given that the patent claims do not purely read on any alleged abstract idea.

Indeed, the claims of the ‘376 Patent do not provision content as in the prior art, but, instead,

provision content by a core server providing the content to distributed node servers to provision to

clients as discussed extensively herein.

    115. For example, “provisioning content over a network” may be practiced outside of the

limited scope of the patent claims at least by:

       A. The use of a system such as that described in the Kenner reference (U.S. Patent No.

           5,956,716), cited by the patent examiner;

       B. The use of a system such as that described in the Guenthner reference (U.S. Patent No.

           6,135,588), cited by the patent examiner;

       C. The use of distributed core servers;

       D. The use of a system which permits a client to download content over time and/or in the

           background and view the content at a later time;

       E. The use of a content capturing device located within the client as the content is

           provisioned;

       F. The use of pre-loaded client devices a user may obtain and view the content; and/or

       G. The use of a system which staggers the provisioning to clients in an ordered queue.

                   COUNT I – INFRINGEMENT OF U.S. PATENT NO. 7,650,376

    116. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.
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    117. Plaintiff is the assignee of the ‘376 Patent and it has all substantial rights to the ‘376

Patent, including the right and standing to sue and recover damages for past, present, and future

infringement of the patent.

    118. Claim 37 of the ‘376 Patent covers a computer readable storage medium or media

comprising said medium or media “encoded with one or more computer programs including

instructions for effecting the provision of content over a network, comprising: instructions for

receiving a request from a client for specified content; instructions for communicating to the client

the identity of a node server having the specified content stored thereon, thereby enabling the client

to request transmission of the specified content from the node server; and instructions for

ascertaining that the node server transmitted the specified content to the client, wherein an owner

of the node server is offered an incentive as compensation for transmission of the specified content

to the client.”

    119. Claim 57 of the ‘376 Patent covers a method comprising said “method effecting the

provision of content over a network, comprising the steps of: identifying at a core server a network

site that will act as a node server for distribution of specified content; providing from the core

server the specified content to the node server; receiving at the core server a request from a client

for the specified content; communicating from the core server the identity of the node server to the

client to enable the client to request transmission of the specified content from the node server;

and ascertaining at the core server that the node server transmitted the specified content to the

client, wherein an owner of the node server is offered an incentive as compensation for

transmission of the specified content to the client.”

    120. Defendant has infringed, and is now infringing, the ‘376 Patent, including at least claims

37 and 57, in this judicial district and elsewhere, in violation of 35 U.S.C. § 271 through actions

comprising the practicing, without authority from Plaintiff, systems and methods for obtaining and
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aggregating contact information from a plurality of messaging services providers via Defendant’s

Plex TV Application system, including associated hardware, firmware, and/or software, including

as claimed in the ‘376 asserted claims. On information and belief, Defendant practices the claimed

methods and provides the claimed systems with and via its Plex TV Application system comprising

the Plex TV website at www.plex.tv, app.plex.tv, and/or watch.plex.tv; the Plex TV Android

mobile application; the Plex TV iOS mobile application; the Plex TV VR device application;

and/or the Plex TV smart device application.

    121. Without limitation, the accused system comprising the Plex TV Application system that

comprises a computer readable medium or media encoded with one or more computer programs

including instructions for effecting the provision of content over a network, comprising:

instructions for receiving a request from a client for specified content; instructions for

communicating to the client the identity of a node server having the specified content stored

thereon, thereby enabling the client to request transmission of the specified content from the node

server; and instructions for ascertaining that the node server transmitted the specified content to

the client, wherein an owner of the node server is offered an incentive as compensation for

transmission of the specified content to the client.

    122. Without limitation, and for example, the accused instrumentality comprising the Plex TV

Application system practices said methods to effect the provision of content over a network,

comprising the steps of: identifying at a core server a network site that will act as a node server for

distribution of specified content; providing from the core server the specified content to the node

server; receiving at the core server a request from a client for the specified content; communicating

from the core server the identity of the node server to the client to enable the client to request

transmission of the specified content from the node server; and ascertaining at the core server that

the node server transmitted the specified content to the client, wherein an owner of the node server
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is offered an incentive as compensation for transmission of the specified content to the client.

    123. Further, the Plex TV Application system comprises computer readable storage media and

methods which permit Defendant’s server to identify a remote server to which the Plex TV

Application system provides specified content such that a client may request specified content

from Defendant’s server, which directs the client to the node server containing the specified

content so that the client may obtain the specified content from the node server, wherein

Defendant’s server is notified by the node server that the content has been transferred and the

owner of the node server is offered an incentive as compensation for the transmission thereof.

    124. For example, the Plex TV Application system permits the streaming of media content

over a network from third-party servers to a user’s device, wherein said streaming occurs, inter

alia, via Plex’s servers providing the identity of a third-party server to the user’s device, in

response to the user’s request to view media content provided by Plex, wherein the server identified

is one which contains the content requested:




See, e.g., Plex TV website located at https://www.plex.tv




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See, e.g., Plex TV website located at https://watch.plex.tv




See, e.g., Plex TV website located at https://app.plex.tv/desktop/#!/




See, e.g., Plex TV Support Article – Interface Overview located at
https://support.plex.tv/articles/200484203-interface-overview/




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See, e.g., Movie Player page for “Silent Rage” on Plex TV website located at
https://app.plex.tv/desktop/#!/provider/tv.plex.provider.vod/details?key=%2Flibrary%2Fmetada
ta%2F5deebf0768cb0b001d38b915

    125. The Plex TV Application system comprises instructions for receiving a request from a

client for specified content. For example, the Plex TV Application provides the user’s device with

code which permits the user’s browser to, inter alia, display the Plex website, browse the content

available for streaming, and select specific content to view, wherein Plex’s servers receive and

interpret code from the user’s device indicating the content the user has chosen to view:
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See, e.g., Plex TV website located at https://www.plex.tv




See, e.g., Plex TV website located at https://watch.plex.tv




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See, e.g., Plex TV website located at https://app.plex.tv/desktop/#!/




See, e.g., Plex TV Support Article – Search located at https://support.plex.tv/articles/200890098-
search




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See, e.g., Plex TV website located at https://app.plex.tv/desktop/#!/




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See, e.g., Movie Information page for “Silent Rage” on Plex TV website located at
https://app.plex.tv/desktop/#!/provider/tv.plex.provider.vod/details?key=%2Flibrary%2Fmetadat
a%2F5deebf0768cb0b001d38b915




See, e.g., Free Live TV on Plex page located at https://watch.plex.tv/live-tv




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See, e.g., Live TV Channel Information page for “WildEarth” on Plex TV website located at
https://watch.plex.tv/live-tv/channels/wildearth




See, e.g., Movie Information page for “Silent Rage” on Plex TV website located at
https://app.plex.tv/desktop/#!/provider/tv.plex.provider.vod/details?key=%2Flibrary%2Fmetadat
a%2F5deebf0768cb0b001d38b915




See, e.g., Live Channel Information page for “WildEarth” on Plex TV website located at
https://watch.plex.tv/live-tv/channels/wildearth


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    126. The Plex TV Application system comprises instructions for communicating to the client

the identity of a node server having the specified content stored thereon. For example, the Plex TV

Application determines whether a third-party server contains the user’s chosen content and

transmits the identity, e.g., IP address, of the server to the user’s device:




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See, e.g., Movie Information page for “Silent Rage” on Plex TV website located at
https://app.plex.tv/desktop/#!/provider/tv.plex.provider.vod/details?key=%2Flibrary%2Fmetadat
a%2F5deebf0768cb0b001d38b915




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See, e.g., Live Channel Information page for “WildEarth” on Plex TV website located at
https://watch.plex.tv/live-tv/channels/wildearth

    127. The Plex TV Application system enables the client to request transmission of the

specified content from the node server. For example, the Plex TV Application instructs and/or

controls the user’s browser on the user’s device running code to connect to the identified third-

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party server, including via the server’s IP address, where the user’s device then requests the chosen

content be transmitted:




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See, e.g., Movie Information page for “Silent Rage” on Plex TV website located at
https://app.plex.tv/desktop/#!/provider/tv.plex.provider.vod/details?key=%2Flibrary%2Fmetadat
a%2F5deebf0768cb0b001d38b915




See, e.g., Movie Player page for “Silent Rage” on Plex TV website located at
https://app.plex.tv/desktop/#!/provider/tv.plex.provider.vod/details?key=%2Flibrary%2Fmetadat
a%2F5deebf0768cb0b001d38b915




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See, e.g., Live Channel Information page for “WildEarth” on Plex TV website located at
https://watch.plex.tv/live-tv/channels/wildearth




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See, e.g., Live Channel player page for “WildEarth” on Plex TV website located at
https://watch.plex.tv/live-tv/channels/wildearth

    128. The Plex TV Application system comprises instructions for ascertaining that the node

server transmitted the specified content to the client. For example, the Plex TV Application

receives updates from the user’s device and/or the third-party server indicating that all, or a part,

of the content has been transferred to the user’s device, which may occur in smaller pieces or

“chunks,” and the Plex TV Application updates the Plex webpage for the user to indicate that at

least a portion of the content has already been viewed:




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See, e.g., Movie Player page for “Silent Rage” on Plex TV website located at
https://app.plex.tv/desktop/#!/provider/tv.plex.provider.vod/details?key=%2Flibrary%2Fmetadat
a%2F5deebf0768cb0b001d38b915




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See, e.g., Live Channel player page for “WildEarth” on Plex TV website located at
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https://watch.plex.tv/live-tv/channels/wildearth




See, e.g., Movie Information page for “Silent Rage” on Plex TV website located at
https://app.plex.tv/desktop/#!/provider/tv.plex.provider.vod/details?key=%2Flibrary%2Fmetadat
a%2F5deebf0768cb0b001d38b915




See, e.g., Movie Player page for “Silent Rage” on Plex TV website located at
https://app.plex.tv/desktop/#!/provider/tv.plex.provider.vod/details?key=%2Flibrary%2Fmetadat
a%2F5deebf0768cb0b001d38b915

    129. The Plex TV Application system comprises an owner of the node server being offered an

incentive as compensation for transmission of the specified content to the client. For example, the

use of third-party servers by the Plex TV Application for the distribution of content to the user’s

device necessitates at least payment of monetary compensation for said hosting, including on a

transactional basis or lump payment for set data limit basis, or as otherwise stated in the agreement

between Defendant and any third party whose server is used by the Plex TV Application.

    130. Defendant has directly infringed, and continues to directly infringe, the claims of the ‘376

Patent, including at least those noted above, including by making and using the Plex TV

Application system in violation of 35 U.S.C. § 271(a). Further, including at least to the extent

Defendant provides and/or supplies software running on a user’s computer, the direct infringement

of users that occurs in connection with Defendant’s applications and/or web services occurs under

the direction or control of Defendant.
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    131. Defendant has had at least constructive notice of the ‘376 Patent since at least its issuance.

Defendant will have been on actual notice of the ‘376 Patent since, at the latest, the service of this

Complaint. Further, Defendant is being made aware of infringement of the ‘376 Patent through

use of the Plex TV Application system at least via the infringement allegations set forth herein.

Such direct infringement has been and remains clear, unmistakable, and inexcusable. On

information and belief, Defendant knew, or should have known, of the clear, unmistakable, and

inexcusable direct infringing conduct at least since receiving notice of the ‘376 Patent. Thus, on

information and belief, Defendant has, at least since receiving notice of the ‘376 Patent,

specifically intended to directly infringe.

    132. QTI believes and contends that, at a minimum, Defendant’s knowing and intentional post-

suit continuance of its unjustified, clear, and inexcusable infringement of the ‘376 Patent since

receiving notice of its infringement of the ‘376 Patent, is necessarily willful, wanton, malicious,

in bad-faith, deliberate, conscious and wrongful, and it constitutes egregious conduct worthy of a

finding of willful infringement. Accordingly, at least since receiving notice of this suit, Defendant

has willfully infringed the ‘376 Patent.

                                      REMEDY AND DAMAGES

    133. Plaintiff refers to and incorporates the allegations in the above paragraphs as if set forth

fully herein.

    134. Defendant’s infringement of Plaintiff’s rights under the Patent-in-Suit will continue to

damage Plaintiff, causing irreparable harm for which there is no adequate remedy at law, unless

enjoined by this Court, including under 35 U.S.C. § 283.

    135. By way of its infringing activities, Defendant has caused, and continues to cause, Plaintiff

to suffer damages, and Plaintiff is entitled to recover from Defendant the damages sustained by

Plaintiff as a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by
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law, cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court,

including under 35 U.S.C. § 284.

    136. Plaintiff also requests that this Court make a finding that this is an exceptional case

entitling Plaintiff to recover its attorneys’ fees and costs, including pursuant to 35 U.S.C. § 285.

                                     DEMAND FOR JURY TRIAL

    137. Pursuant to Rule 38 of the FEDERAL RULES OF CIVIL PROCEDURE, Plaintiff hereby

respectfully requests a trial by jury of any issues so triable by right.

                                        PRAYER FOR RELIEF

        WHEREFORE, QTI hereby respectfully requests that this Court enter judgment in favor

of QTI and against Defendant, and that the Court grant QTI the following relief:

        A. That this Court enter Judgment including an adjudication that one or more claims of

            the Patent-in-Suit has been directly and/or indirectly infringed by Defendant, including

            pursuant to 35 U.S.C. § 281;

        B. That this Court enter Judgment including a grant of a preliminary and permanent

            injunction, including pursuant to 35 U.S.C. § 283, enjoining Defendant and all persons,

            including its officers, directors, agents, servants, affiliates, employees, divisions,

            branches, subsidiaries, parents, and all others acting in active concert or participation

            therewith, from making, using, offering to sell, and/or selling in the United States

            and/or importing into the United States any apparatuses, methods, systems, and/or

            computer readable media that directly and/or indirectly infringe any claim of the

            Patent-in-Suit, and/or any apparatuses, methods, systems, and/or computer readable

            media that are not more than colorably different;

        C. That this Court enter Judgment including an award to Plaintiff of damages, including

            pursuant to 35 U.S.C. § 284, adequate to compensate Plaintiff for Defendant’s past

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         infringement, together with pre-judgment and post-judgment interest, and any

         continuing and/or future infringement through the date such Judgment is entered,

         including all applicable, legally allowable, interest, costs, expenses, and an accounting

         of all infringing acts, including, but not limited to, those acts not presented at trial;

      D. That this Court enter Judgment including a declaration that Defendant’s post-notice

         infringement has been, and continues to be, willful, including that Defendant acted to

         infringe the Patent-in-Suit despite an objectively high likelihood that its actions

         constituted infringement of a valid patent and, accordingly, award enhanced damages,

         including treble damages, including pursuant to 35 U.S.C. §§ 284 & 285;

      E. That this Court enter Judgment including a declaration that this case is an exceptional

         case and award Plaintiff reasonable attorneys’ fees and costs, including in pursuant to

         35 U.S.C. § 285; and

      F. Any and all such other and further relief to which Plaintiff may be shown justly entitled

         that this Court deems just and proper.


Dated: April 29, 2022                            Respectfully submitted,

                                                 /s/ John C. Phillips, Jr.
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